 Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 1 of 45 PAGEID #: 1




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO


  DIANA NICKERSON, Individually and On                  Case No:
  Behalf of All Others Similarly Situated,
                                                        CLASS ACTION COMPLAINT FOR
          Plaintiff,                                    VIOLATIONS OF THE FEDERAL
                                                        SECURITIES LAWS
          v.
                                                        JURY TRIAL DEMANDED
  AMERICAN ELECTRIC POWER
  COMPANY, INC., NICHOLAS K. AKINS,
  BRIAN X. TIERNEY, and JOSEPH M.
  BUONAIUTO,

          Defendants.



       Plaintiff Diana Nickerson (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter alia,

the investigation conducted by and through his attorneys, which included, among other things, a

review of the Defendants’ public documents, announcements made by Defendants, public filings,

wire and press releases published by and regarding American Electric Power Company, Inc.

(“AEP” or the “Company”), information readily obtainable on the Internet such as media reports

about the Company, and filings in the following criminal cases: USA v. Generation Now, 1:20-

MJ-00522 (S.D. Oh.); USA v. Cespedes, 1:20-MJ-00523 (S.D. Oh.); USA v. Longstreth, 1:20-MJ-

00524 (S.D. Oh.); USA v. Householder v. Householder, 1:20-MJ-00525 (S.D. Oh.); USA v.

Borges, 1:20-MJ-00526 (S.D. Oh.); and USA v. Clark, 1:20-MJ-00527 (S.D. Oh.) (together the

“Criminal Proceedings”). Plaintiff believes that substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                                                 1
  Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 2 of 45 PAGEID #: 2




                                   NATURE OF THE ACTION

        1.       This is a class action on behalf of persons or entities who purchased publicly traded

AEP securities between November 2, 2016 and July 24, 2020, inclusive (the “Class Period”).

Plaintiff seeks to recover compensable damages caused by Defendants’ violations of the federal

securities laws under the Securities Exchange Act of 1934 (the “Exchange Act”).

                                 JURISDICTION AND VENUE

        2.       The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

        3.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).

        4.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements entered and the

subsequent damages took place in this judicial district and the Company is headquartered in this

judicial district.

        5.       In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                              PARTIES

        6.       Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, purchased AEP securities during the Class Period and was economically damaged thereby.




                                                  2
 Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 3 of 45 PAGEID #: 3




       7.      Defendant AEP is an electric public utility holding company which engages in the

generation, transmission, and distribution of electricity for sale to retail and wholesale customers

in the United States.

       8.      AEP is incorporated in New York and its principal executive office is located at 1

Riverside Plaza, Columbus, Ohio. AEP’s common stock trades on the New York Stock Exchange

(“NYSE”) under the ticker symbol “AEP” and the Company’s preferred stock trades on the NYSE

under the ticker symbol “AEP-PB.”

       9.      Defendant Nicholas K. Akins (“Akins”) has served as the Company’s President,

Chief Executive Officer, and Chairman during the Class Period.

       10.     Defendant Brian X. Tierney (“Tierney”) has served as the Company’s Chief

Financial Officer and Executive Vice President during the Class Period.

       11.     Defendant Joseph M. Buonaiuto (“Buonaiuto”) has served as the Company’s

Controller and Chief Accounting Officer during the Class Period.

       12.     Defendants Akins, Tierney, and Buonaiuto are collectively referred to herein as the

“Individual Defendants.”

       13.     Each of the Individual Defendants:

               (a)      directly participated in the management of the Company;

               (b)      was directly involved in the day-to-day operations of the Company at the

                        highest levels;

               (c)      was privy to confidential proprietary information concerning the Company

                        and its business and operations;




                                                 3
 Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 4 of 45 PAGEID #: 4




                (d)    was directly or indirectly involved in drafting, producing, reviewing and/or

                       disseminating the false and misleading statements and information alleged

                       herein;

                (e)    was directly or indirectly involved in the oversight or implementation of

                       the Company’s internal controls;

                (f)    was aware of or recklessly disregarded the fact that the false and

                       misleading statements were being issued concerning the Company; and/or

                (g)    approved or ratified these statements in violation of the federal securities

                       laws.

       14.      The Company is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency because the

wrongful acts complained of herein were carried out within the scope of their employment.

       15.      The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to AEP under respondeat superior and agency principles.

       16.      Defendant AEP and the Individual Defendants are collectively referred to herein as

“Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

                                    Background Information

       17.      On July 21, 2020, the U.S. Attorney’s Office for the Southern District of Ohio
issued a press release entitled “Ohio House Speaker, former chair of Ohio Republican Party, 3
other individuals & 501(c)(4) entity charged in federal public corruption racketeering conspiracy
involving $60 million” which announced the following, in pertinent part, regarding the bribery
scheme:




                                                4
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 5 of 45 PAGEID #: 5




    COLUMBUS, Ohio – The Ohio Speaker of the House was arrested this morning
    and charged in a federal racketeering conspiracy involving approximately $60
    million paid to a 501(c)(4) entity to pass and uphold a billion-dollar nuclear plant
    bailout.

    It is alleged that Larry Householder, 61, of Glenford, Ohio, and the enterprise
    conspired to violate the racketeering statute through honest services wire fraud,
    receipt of millions of dollars in bribes and money laundering.

    Four other individuals were also arrested and charged. They include:

    Mathew Borges, 48, of Bexley, a lobbyist who previously served as chair of the
    Ohio Republican Party;
    Jeffrey Longstreth, 44, of Columbus, Householder’s longtime campaign and
    political strategist;
    Neil Clark, 67, of Columbus, a lobbyist who owns and operates Grant Street
    Consultants and previously served as budget director for the Ohio Republican
    Caucus; and
    Juan Cespedes, 40, of Columbus, a multi-client lobbyist.

    Generation Now, a corporate entity registered as a 501(c)(4) social welfare
    organization, was also charged.

                                     *       *       *

    According to the 80-page criminal complaint unsealed today, from March 2017
    to March 2020, the enterprise received millions of dollars in exchange for
    Householder’s and the enterprise’s help in passing House Bill 6, a billion-dollar
    bailout that saved two failing, Ohio nuclear power plants from closing.

    The defendants then also allegedly worked to corruptly ensure that HB 6 [Ohio
    House Bill 6] went into effect by defeating a ballot initiative to overturn the
    legislation. The Enterprise received approximately $60 million into Generation
    Now from an energy company and its affiliates during the relevant period.

    As alleged, in February 2017, Longstreth incorporated Generation Now as a
    501(c)(4) social welfare entity purporting to promote energy independence and
    economic development; however, the entity was secretly controlled by
    Householder. As Clark stated in a recorded conversation, “Generation Now is the
    Speaker’s (c)(4).” Pursuant to federal law, the names and addresses of
    contributors to 501(c)(4)s are not made available for public inspection.

    In March 2017, Householder began receiving quarterly $250,000 payments from
    the related-energy companies into the bank account of Generation Now. The
    defendants allegedly spent millions of the company’s dollars to support
    Householder’s political bid to become Speaker, to support House candidates they

                                            5
 Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 6 of 45 PAGEID #: 6




       believed would back Householder, and for their own personal benefit. When asked
       how much money was in Generation Now, Clark said, “it’s unlimited.”

       The affidavit filed in support of the criminal complaint also alleges:

       In 2018, the enterprise spent energy company-to-Generation Now money on
       approximately 21 different state candidates – 15 (including Householder) in the
       primary, and six additional candidates in the general election. The Enterprise spent
       more than one million in fall 2018 alone to flood the airways with negative ads
       against enterprise opponents. Most of these candidates won the 2018 general
       election. All who won voted for Householder as Speaker.

       Money passed from the energy company through Generation Now was used to pay
       for Householder campaign staff, which would otherwise have been paid by
       Householder’s candidate committee, Friends of Larry Householder.

       Householder received more than $400,000 in personal benefits as a result of the
       payments into Generation Now, including funds to settle a personal lawsuit, to pay
       for costs associated with his residence in Florida, and to pay off thousands of dollars
       of credit card debt.

       The enterprise paid $15,000 to an individual to provide insider information about
       the ballot initiative and offered to pay signature collectors for the ballot initiative
       $2,500 cash and plane fare to stop gathering signatures.

                                         *       *       *

       “It takes courage for citizens to assist law enforcement in the ways detailed in the
       affidavit,” U.S. Attorney David M. DeVillers said. “We are grateful to those who
       felt a moral duty to work together with agents in bringing to light this alleged,
       significant public corruption.”

       “All forms of public corruption are unacceptable,” stated FBI Cincinnati Special
       Agent in Charge Chris Hoffman. “When the corruption is alleged to reach some
       of the highest levels of our state government, the citizens of Ohio should be
       shocked and appalled.”

       (Emphasis added.)

       18.     The criminal complaints and affidavits were filed that same day in the Criminal

Proceedings. These documents detailed a brazen scheme by Ohio-based energy companies to

corrupt the political process and undermine democratic institutions in the State of Ohio in order to

secure passage of Ohio House Bill 6 (“HB6”). The allegations contained in the criminal complaints

                                                 6
 Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 7 of 45 PAGEID #: 7




and affidavits were supported by detailed transcripts of phone calls, recorded conversations, text

messages, bank records and contemporaneous documentary evidence.

                              Overview of the Corruption Scheme

       19.     In January 2017, then-former Ohio House Speaker Larry Householder met with

representatives from another Ohio-based energy company during a flight on one of the its jets.

After more than a decade, Householder had won back his old Ohio House seat in 2016 and was

eager to re-ascend to his former Speakership. During or around the time of the flight, a corrupt

bargain was struck between Householder and major players in the Ohio energy industry which

sent millions of dollars in payments to Householder for his personal enrichment and to support his

bid for Speakership. In exchange, Householder promised to secure the passage of legislation that

would provide benefits to Ohio energy companies, including AEP.

       20.     In February 2017, the corrupt conspiracy between his affiliates went into motion in

earnest with the establishment of “Generation Now” and “Energy Pass-Through,” 501(c)(4)

organizations used to funnel dark money from Ohio energy companies to Householder and his

affiliates. In all, more than $60 million was paid to Householder and his operatives in furtherance

of the bribery scheme. As one of the alleged co-conspirators, lobbyist Neil Clark (characterized in

the criminal complaint as Householder’s political “hit man”) stated in a secretly recorded

conversation: “Nobody knows the money goes to the Speaker’s account . . . it’s not recorded.”

       21.     The clandestine payments were used to fund the political campaigns of over 20

state legislative candidates. The enterprise managed these candidates’ campaigns, paid their staffs,

and designed and paid for mailers and commercials. Most of these candidates won their elections.

All who won voted for Householder as Speaker and all but two ultimately voted for HB6 despite




                                                7
 Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 8 of 45 PAGEID #: 8




its unpopularity. In addition, Householder used a portion of the funds to enrich himself personally,

including to buy a home in Florida and to settle a personal lawsuit against him.

       22.     The day Householder was elected Speaker he quickly moved to uphold his end of

the bargain by pledging to create a standing subcommittee on energy generation. Householder

followed through shortly thereafter, securing the votes for HB6 and defending the bill against a

citizens’ ballot initiative. HB6 includes a provision for the recovery of Ohio Valley Electric

Corporation (“OVEC”), which is approximately 43% owned by AEP, costs through 2030. HB6

also includes provisions cutting Ohio renewable energy standards and cutting Ohio energy

efficiency standards – both benefiting AEP as well.

       23.     Ohio energy companies including FirstEnergy Corp., FirstEnergy Solutions Corp.

(now Energy Harbor Corp.), and AEP greased the bill’s passage by funneling millions of dollars

through dark money political groups. These groups in turn paid for a massive media campaign in

support of HB6 while concealing the energy companies’ involvement. The massive media blitz

was used to sway public opinion, often through highly misleading ads, and provide cover for

politicians to vote in favor of the unpopular bill. Householder also personally pressured lawmakers

to support the bill, threatening those who opposed him and developing a “hyper local” “Senator-

by-Senator game plan” to get the votes necessary to secure passage.

       24.     There was only a short time between when Householder became Speaker in January

2019 and HB6 was signed into law in July 2019. At the same time that the conspiracy was receiving

millions of dollars from Ohio energy companies it was taking overt steps to put the plans to corrupt

the legislative process into action.




                                                8
 Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 9 of 45 PAGEID #: 9




       25.     These illicit activities achieved their aim, and, in July 2019, HB6 passed and was

signed into law. Almost immediately, public opposition began to mount and citizen groups worked

to get on the ballot a voter referendum to repeal the law.

       26.     The enterprise went into overdrive to thwart this initiative, secretly funding yet

another round of highly misleading political advertisements through its dark money network. At

least $38 million was wired through Generation Now, Inc. (“Generation Now”) into a front

company that paid for a media blitz of commercials and fliers orchestrated by the illicit enterprise.

These advertisements were intended to stoke fear among Ohio citizens by falsely claiming that

China was using the petition drive to invade Ohio’s energy grid. The following examples are

typical of the underhanded campaign:




                                                 9
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 10 of 45 PAGEID #: 10




       27.     The scheme went further, hiring top signature collection firms in order to prevent

them from working on the ballot initiative by creating a conflict of interest. Energy company-

funded Generation Now paid at least 15 such firms not to work. The enterprise also bribed an

employee of the citizens’ ballot initiative for inside information that could be used against the

campaign. The transaction was implemented by Matthew Borges, then a lobbyist, who was also

the former Chairman of the Ohio Republican Party, and current criminal defendant in the Criminal

Proceedings. Other operatives bribed signature collectors in order to subvert the ballot campaign’s

efforts. In the end, the energy companies’ massive resources and unscrupulous tactics successfully

prevented the referendum from gathering the requisite signatures and HB6 remained in effect.

       28.     The illicit nature of these activities was understood. As one of the criminal

defendants, another industry lobbyist, stated on a secretly recorded line, “everybody knows

[Householder is] pay to play.” For a time, the Company was able to conceal its misdeeds from the

public and the market, successfully inflating the price of its securities.




                                                 10
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 11 of 45 PAGEID #: 11




                                Materially False and Misleading

                          Statements Issued During the Class Period

       29.     On November 2, 2016, AEP filed its quarterly report on Form 10-Q with the SEC

for the period ended September 30, 2016 (the “3Q 16 10-Q”) which was signed by Defendant

Buonaiuto. Attached to the 3Q 16 10-Q were certifications pursuant to the Sarbanes-Oxley Act of

2002 (“SOX”) signed by Defendants Akins and Tierney attesting to the accuracy of the financial

statements and the disclosure of all fraud.

       30.     The 3Q 16 10-Q stated the following, in pertinent part, regarding the Company’s

regulatory and legislative outlook and efforts:

       In September 2016, due to AEP’s ongoing evaluation of strategic alternatives for
       its merchant generation assets, declining forecasts of future energy and capacity
       prices, and a decreasing likelihood of cost recovery through regulatory
       proceedings or legislation in the state of Ohio providing for the recovery of AEP’s
       existing Ohio merchant generation assets, AEP performed an impairment analysis
       at the unit level on the remaining merchant generation assets in accordance with
       accounting guidance for impairments of long-lived assets. The evaluation was
       performed using generating unit specific estimated future cash flows and resulted
       in a material impairment of certain merchant generation fleet assets. As a result,
       AEP recorded a pretax impairment of $2.3 billion ($1.5 billion, net of tax) in
       Asset Impairments and Other Related Charges on the statement of operations
       related to 2,684 MWs of Ohio merchant generation including Cardinal Unit 1,
       43.5% ownership interest in Conesville Unit 4, Conesville Units 5-6, 26.0%
       ownership interest in Stuart Units 1-4, and 25.4% ownership interest in Zimmer
       Unit 1, as well as Putnam coal and I&M’s Price River coal reserves, Desert Sky
       and Trent Wind Farms and the merchant generation portion of the Oklaunion Plant.
       As of September 30, 2016, the remaining net book value of these assets is $50
       million. See “Merchant Generating Assets (Generation & Marketing Segment)”
       section of Note 6 for additional information.

       Management continues to evaluate potential alternatives for the remaining
       merchant generation assets. These potential alternatives may include, but are not
       limited to, propose restructuring of Ohio electricity regulations to allow certain
       of these assets to be acquired by OPCo [Ohio Power Company, an AEP electric
       utility subsidiary] for the benefit of its customers, transfer or sale of AEP’s
       ownership interests, or a wind down of merchant coal-fired generation fleet
       operations. . . .



                                                  11
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 12 of 45 PAGEID #: 12




                                           *       *       *

       Federal and state legislation or regulations that mandate limits on the emission of
       CO2 could result in significant increases in capital expenditures and operating costs,
       which in turn, could lead to increased liquidity needs and higher financing
       costs. Excessive costs to comply with future legislation or regulations might
       force AEP to close some coal-fired facilities and could lead to possible
       impairment of assets.

       (Emphasis added.)

       31.     On February 28, 2017, AEP filed its yearly report on Form 10-K with the SEC for

the year ended December 31, 2016 (the “2016 Annual Report”) which was signed by Defendants

Akins, Tierney, and Buonaiuto. Attached to the 2016 Annual Report were certifications pursuant

to SOX signed by Defendants Akins and Tierney attesting to the accuracy of the financial

statements and the disclosure of all fraud.

       32.     The 2016 Annual Report stated the following, in pertinent part, regarding the

regulations and Company’s legislative outlook and efforts:

       AEP’s vertically integrated public utility subsidiaries’ retail rates and certain
       other matters are subject to traditional cost-based regulation by the state utility
       commissions. AEP’s vertically integrated public utility subsidiaries are also
       subject to regulation by the FERC [Federal Energy Regulatory Commission] under
       the Federal Power Act with respect to wholesale power and transmission service
       transactions. . . . AEP and its vertically integrated public utility subsidiaries are also
       subject to the regulatory provisions of EPACT [The Energy Policy Act of 2005],
       much of which is administered by the FERC.

       Rates

       Historically, state utility commissions have established electric service rates on a
       cost-of-service basis, which is designed to allow a utility an opportunity to recover
       its cost of providing service and to earn a reasonable return on its investment used
       in providing that service. A utility’s cost of service generally reflects its operating
       expenses, including operation and maintenance expense, depreciation expense and
       taxes. State utility commissions periodically adjust rates pursuant to a review of
       (a) a utility’s adjusted revenues and expenses during a defined test period and (b)
       such utility’s level of investment. Absent a legal limitation, such as a law limiting
       the frequency of rate changes or capping rates for a period of time, a state utility
       commission can review and change rates on its own initiative. Some states may

                                                  12
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 13 of 45 PAGEID #: 13




     initiate reviews at the request of a utility, customer, governmental or other
     representative of a group of customers. Such parties may, however, agree with one
     another not to request reviews of or changes to rates for a specified period of time.

     Public utilities have traditionally financed capital investments until the new asset is
     placed in service. Provided the asset was found to be a prudent investment, it was
     then added to rate base and entitled to a return through rate recovery. Given long
     lead times in construction, the high costs of plant and equipment and volatile capital
     markets, management is actively pursuing strategies to accelerate rate recognition
     of investments and cash flow. AEP representatives continue to engage state
     commissioners and legislators on alternative ratemaking options to reduce
     regulatory lag and enhance certainty in the process. These options include pre-
     approvals, a return on construction work in progress, rider/trackers, formula
     rates and the inclusion of future test-year projections into rates.

     The rates of AEP’s vertically integrated public utility subsidiaries are generally
     based on the cost of providing traditional bundled electric service (i.e., generation,
     transmission and distribution service).        Historically, the state regulatory
     frameworks in the service area of the AEP vertically integrated public utility
     subsidiaries reflected specified fuel costs as part of bundled (or, more recently,
     unbundled) rates or incorporated fuel adjustment clauses in a utility’s rates and
     tariffs. Fuel adjustment clauses permit periodic adjustments to fuel cost recovery
     from customers and therefore provide protection against exposure to fuel cost
     changes.

                                       *       *       *

     Technology advancements, increased demand for clean energy, changing
     consumer behaviors, low-priced and abundant natural gas, and regulatory and
     public policy reforms are among the catalysts for transformation within the
     industry that impact competition for AEP’s vertically integrated public utility
     subsidiaries. AEP’s vertically integrated public utility subsidiaries also compete
     with self-generation and with distributors of other energy sources, such as natural
     gas, fuel oil, renewables and coal, within their service areas. The primary factors
     in such competition are price, reliability of service and the capability of customers
     to utilize alternative sources of energy other than electric power. With respect to
     competing generators and self-generation, the public utility subsidiaries of AEP
     believe that they currently maintain a competitive position.

     Changes in regulatory policies and advances in newer technologies for batteries or
     energy storage, fuel cells, microturbines, wind turbines and photovoltaic solar cells
     are reducing costs of new technology to levels that are making them competitive
     with some central station electricity production. . . .

     AEP typically recovers undepreciated plant balances and associated operating
     costs, each including a return, from customers through regulated rates in regulated

                                              13
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 14 of 45 PAGEID #: 14




       jurisdictions. Failure to recover these costs could reduce future net income and
       cash flows and possibly harm financial condition.

       Recent changes in the global economy have led to increased competition for many
       industrial customers in the United States, including those served by the AEP
       System. Industrial customers that are downsizing or reorganizing often close a
       facility based upon its costs, which may include, among other things, the cost of
       electric power. The vertically integrated public utility subsidiaries of AEP work
       with such customers to meet their business needs. For example, various off-peak or
       interruptible supply options may be provided pursuant to tariffs filed with, and
       approved by, the various state commissions. The vertically integrated public utility
       subsidiaries of AEP also work with customers that seek to source more of their
       electric power from renewable resources. Depending on the jurisdiction,
       customers may have access to green power tariffs. In other instances, AEP
       purchases renewable power that is available to all customers in a specific
       jurisdiction.

       (Emphasis added.)

       33.     On April 28, 2017, AEP filed its quarterly report on Form 10-Q with the SEC for

the period ended March 31, 2017 (the “1Q 17 10-Q”) which was signed by Defendant Buonaiuto.

Attached to the 1Q 17 10-Q were certifications pursuant to SOX signed by Defendants Akins and

Tierney attesting to the accuracy of the financial statements and the disclosure of all fraud.

       34.     The 1Q 17 10-Q stated the following, in pertinent part, regarding the Company’s

regulatory and legislative outlook and efforts:

       Climate Change, CO2 Regulation and Energy Policy

       The majority of the states where AEP has generating facilities passed legislation
       establishing renewable energy, alternative energy and/or energy efficiency
       requirements that can assist in reducing carbon emissions. Management is taking
       steps to comply with these requirements, including increasing wind and solar
       installations and power purchases and broadening the AEP System’s portfolio of
       energy efficiency programs.

                                          *       *      *

       Federal and state legislation or regulations that mandate limits on the emission of
       CO2 could result in significant increases in capital expenditures and operating
       costs, which in turn, could lead to increased liquidity needs and higher financing
       costs. Excessive costs to comply with future legislation or regulations might force

                                                  14
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 15 of 45 PAGEID #: 15




       AEP to close some coal-fired facilities and could lead to possible impairment of
       assets.

                                         *        *    *

       In September 2016, due to AEP’s ongoing evaluation of strategic alternatives for
       its merchant generation assets, declining forecasts of future energy and capacity
       prices, and a decreasing likelihood of cost recovery through regulatory
       proceedings or legislation in the state of Ohio providing for the recovery of AEP’s
       existing Ohio merchant generation assets, AEP performed an impairment analysis
       at the unit level on the remaining merchant generation assets in accordance with
       accounting guidance for impairments of long-lived assets.

       (Emphasis added.)

       35.     On May 25, 2017, AEP released its 2017 Corporate Accountability Report, which

stated the following, in pertinent part, regarding the Company’s clean energy strategy, and its

regulatory and legislative outlook and efforts:

       Carbon and Climate

       AEP’s carbon footprint has been dramatically reduced in recent years. In 2017, we
       estimate that our carbon emissions will be 56 percent below 2000 levels. In addition
       to new renewable sources, the sale of merchant generation, previous coal unit
       retirements and economic factors such as lower natural gas prices, all contributed
       to this decline.

       Carbon and climate change continue to take center stage in discussions with
       many of our stakeholders. Investors and environmental groups ask us about how
       we will continue to transition to a less-carbon-intensive energy future, and
       customers want more access to renewable resources to meet their own clean
       energy objectives.

       Our path forward is clear. We do not foresee adding new coal. However, our
       remaining fossil and nuclear units provide critical 24/7 power to the grid and a
       resilient source of power for all customers. We need these resources to ensure a
       continued balanced portfolio of resources.

       Regardless of the political environment and the fate of the Clean Power Plan or
       other changes that may be in the works, AEP remains committed to a clean energy
       future because that is what our customers and stakeholders expect. We have
       always maintained that any approach to climate change should be economy-wide
       and addressed through legislative policy. That said, the U.S. Supreme Court has
       ruled that the U.S. Environmental Protection Agency can regulate carbon, so we

                                                  15
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 16 of 45 PAGEID #: 16




       are preparing for that prospect. Our planning criteria includes a proxy cost of carbon
       when developing all of our resource plans to prepare for that eventuality.

       We will continue to engage with all of our stakeholders on carbon and climate
       change and to be transparent about our plans.

                                          *       *      *

       Lobbying and Political Contributions

       The electric utility industry is undergoing a fundamental transformation driven by
       a number of factors, including new regulations and public policies. For the benefit
       of all stakeholders, we actively participate in the political process and in lobbying
       activities at the national, state and local levels.

       The investments needed to modernize the power grid are in the billions of dollars,
       and the stakes have never been higher. To understand the policies and regulations
       that could affect our business, we participate in a number of organizations, lobby
       on our customers’ behalf and contribute to political candidates.

       Each year, AEP publicly discloses lobbying activities and political contributions.
       We also annually report on the portions of membership dues from organizations
       such as the Business Roundtable (BRT) and Edison Electric Institute (EEI) that go
       toward lobbying. We post our lobbying policy online and we have a process in
       place to review political contributions annually with AEP’s Board of Director’s
       Committee on Directors and Corporate Governance.

        (Emphasis added.)

       36.     On July 27, 2017, AEP filed its quarterly report on Form 10-Q with the SEC for the

period ended June 30, 2017 (the “2Q 17 10-Q”) which was signed by Defendant Buonaiuto.

Attached to the 2Q 17 10-Q were certifications pursuant to SOX signed by Defendants Akins and

Tierney attesting to the accuracy of the financial statements and the disclosure of all fraud.

       37.     The 2Q 17 10-Q stated the following, in pertinent part, regarding the Company’s

regulatory and legislative outlook and efforts:

       Federal and state legislation or regulations that mandate limits on the emission of
       CO2 could result in significant increases in capital expenditures and operating
       costs, which in turn, could lead to increased liquidity needs and higher financing
       costs. Excessive costs to comply with future legislation or regulations might force



                                                  16
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 17 of 45 PAGEID #: 17




         AEP to close some coal-fired facilities and could lead to possible impairment of
         assets.

                                           *      *       *

         In September 2016, due to AEP’s ongoing evaluation of strategic alternatives for
         its merchant generation assets, declining forecasts of future energy and capacity
         prices, and a decreasing likelihood of cost recovery through regulatory proceedings
         or legislation in the state of Ohio providing for the recovery of AEP’s existing Ohio
         merchant generation assets, AEP performed an impairment analysis at the unit level
         on the remaining merchant generation assets in accordance with accounting
         guidance for impairments of long-lived assets.

         38.    On October 27, 2017, AEP filed its quarterly report on Form 10-Q with the SEC

for the period ended September 30, 2017 (the “3Q 17 10-Q”) which was signed by Defendant

Buonaiuto. Attached to the 3Q 17 10-Q were certifications pursuant to SOX signed by Defendants

Akins and Tierney attesting to the accuracy of the financial statements and the disclosure of all

fraud.

         39.    The 3Q 17 10-Q stated the following, in pertinent part, regarding the Company’s

clean energy strategy, and also its regulatory and legislative outlook and efforts:

         The majority of the states where AEP has generating facilities passed legislation
         establishing renewable energy, alternative energy and/or energy efficiency
         requirements that can assist in reducing carbon emissions. Management is taking
         steps to comply with these requirements, including increasing wind and solar
         installations and power purchases and broadening the AEP System’s portfolio of
         energy efficiency programs.

                                           *      *       *

         The Federal EPA has re-examined its legal interpretation of the “best system of
         emission reduction” and found that based on the statutory text, legislative history,
         use of similar terms elsewhere in the CAA and its own historic implementation of
         Section 111 that a narrower interpretation of the term limits it to those designs,
         processes, control technologies and other systems that can be applied directly to or
         at the source. Since the primary systems relied on in the CPP are not consistent with
         that interpretation, the Federal EPA proposes that the rule be withdrawn.
         Management does not expect a change in AEP’s overall strategy as a result of
         the proposed repeal.



                                                 17
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 18 of 45 PAGEID #: 18




       Federal and state legislation or regulations that mandate limits on the emission of
       CO2 could result in significant increases in capital expenditures and operating
       costs, which in turn, could lead to increased liquidity needs and higher financing
       costs. Excessive costs to comply with future legislation or regulations might force
       AEP to close some coal-fired facilities and could lead to possible impairment of
       assets.

                                          *     *       *

       In September 2016, due to AEP’s ongoing evaluation of strategic alternatives for
       its merchant generation assets, declining forecasts of future energy and capacity
       prices, and a decreasing likelihood of cost recovery through regulatory proceedings
       or legislation in the state of Ohio providing for the recovery of AEP’s existing Ohio
       merchant generation assets, AEP performed an impairment analysis at the unit level
       on the remaining merchant generation assets in accordance with accounting
       guidance for impairments of long-lived assets. Based on the impairment analysis
       performed in the third quarter of 2016, AEP recorded a pretax impairment of $2.3
       billion in Asset Impairments and Other Related Charges on the statement of
       operations.

       (Emphasis added.)

       40.     On February 6, 2018, AEP issued a press release entitled “AEP's Clean Energy

Strategy Will Achieve Significant Future Carbon Dioxide Reductions” which touted the

Company’s strategy towards cleaner energy, quoting Defendant Akins:

       “AEP is focused on modernizing the power grid, expanding renewable energy
       resources and delivering cost-effective, reliable energy to our customers,” said
       Nicholas K. Akins, AEP chairman, president and chief executive officer. “Our
       customers want us to partner with them to provide cleaner energy and new
       technologies, while continuing to provide reliable, affordable energy. Our investors
       want us to protect their investment in our company, deliver attractive returns and
       manage climate-related risk. This long-term strategy allows us to do both.”

       41.     On February 23, 2018, AEP filed its yearly report on Form 10-K with the SEC for

the year ended December 31, 2017 (the “2017 Annual Report”) which was signed by Defendants

Akins, Tierney, and Buonaiuto. Attached to the 2017 Annual Report were certifications pursuant

to SOX signed by Defendants Akins and Tierney attesting to the accuracy of the financial

statements and the disclosure of all fraud.



                                               18
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 19 of 45 PAGEID #: 19




       42.    The 2017 Annual Report stated the following, in pertinent part, regarding the

regulations and Company’s legislative outlook and efforts:

       Corporate Governance

       In response to environmental issues and in connection with its assessment of
       AEP’s strategic plan, the Board of Directors continually reviews the risks posed
       by new environmental rules and requirements that could accelerate the
       retirement of coal-fired generation assets. The Board of Directors is informed of
       any new environmental regulations and proposed regulation or legislation that
       would affect the company. The Board’s Committee on Directors and Corporate
       Governance oversees the company’s annual Corporate Accountability Report,
       which includes information about the company’s environmental, financial and
       social performance. In addition, as a result of ongoing corporate governance
       outreach efforts with shareholders, AEP set new carbon dioxide emission reduction
       goals that were published in a new report in February 2018, “American Electric
       Power: Strategic Vision for a Clean Energy Future.”

                                        *      *       *

       In the event that alternative generation resources are mandated, subsidized or
       encouraged through climate legislation or regulation or otherwise are economically
       competitive and added to the available generation supply, such resources could
       displace a higher marginal cost fossil plant, which could reduce the price at which
       market participants sell their electricity. These events could cause AGR to retire
       generating capacity prior to the end of its estimated useful life.

                                        *      *       *

       Lobbying and Political Contributions

       . . . The investments needed to modernize the power grid are in the billions of
       dollars, and the stakes have never been higher. To understand the policies and
       regulations that could affect our business, we participate in a number of
       organizations, lobby on our customers’ behalf and contribute to political
       candidates.

       Each year, AEP publicly discloses lobbying activities and political contributions.
       We also annually report on the portions of membership dues paid to organizations
       such as the U.S. Chamber of Commerce and Edison Electric Institute (EEI) that go
       toward lobbying. We post our lobbying policy online and we discuss political
       contributions annually with AEP’s Board of Director’s Committee on Directors and
       Corporate Governance.




                                              19
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 20 of 45 PAGEID #: 20




       . . . In general, we believe it is better to be at the table and engaged in the discussion
       whether we are in total agreement or not. When we disagree, we voice our concerns
       and work to change the position. Sometimes we prevail, and sometimes we do not,
       but we strive to reach an appropriate position, based on the facts available. In
       addition, many of our customers belong to these organizations, and this helps us
       better understand their concerns and needs.

       We believe in transparency and active participation in public debate. Our
       experience is that open, candid discussion and a good-faith attempt to reach
       common ground is the best way to do business.

       (Emphasis added.)

       43.     On April 26, 2018, AEP filed its quarterly report on Form 10-Q with the SEC for

the period ended March 31, 2018 (the “1Q 18 10-Q”) which was signed by Defendant Buonaiuto.

Attached to the 1Q 18 10-Q were certifications pursuant to SOX signed by Defendants Akins and

Tierney attesting to the accuracy of the financial statements and the disclosure of all fraud.

       44.     The 1Q 18 10-Q stated the following, in pertinent part, regarding the Company’s

regulatory and legislative outlook and efforts:

       Climate Change, CO2 Regulation and Energy Policy

       The majority of the states where AEP has generating facilities passed legislation
       establishing renewable energy, alternative energy and/or energy efficiency
       requirements that can assist in reducing carbon emissions. Management is taking
       steps to comply with these requirements, including increasing wind and solar
       installations and power purchases and broadening the AEP System’s portfolio of
       energy efficiency programs.

                                           *       *       *

       Federal and state legislation or regulations that mandate limits on the emission of
       CO2 could result in significant increases in capital expenditures and operating
       costs, which in turn, could lead to increased liquidity needs and higher financing
       costs. Excessive costs to comply with future legislation or regulations might force
       AEP to close some coal-fired facilities and could lead to possible impairment of
       assets.




                                                  20
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 21 of 45 PAGEID #: 21




       45.     On May 3, 2018, AEP released its 2018 Corporate Accountability Report, which

stated the following, in pertinent part, regarding the Company’s customer focus, clean energy

strategy, and also its regulatory and legislative outlook and efforts:

       Putting Customers First


       We deeply value the relationships we have with our customers and communities.
       As fast as technology changes and the demand for flexibility of the power grid
       grows, our customers’ expectations are also evolving. We want to collaborate with
       them to deliver energy solutions and provide service that goes beyond their
       expectations. Today, we’re taking steps to ensure every customer has a great
       experience whenever, and however, they interact with AEP. . . .

       In 2018, we are building a new, state-of-the-art Social Media Center to enhance
       and expand our ability to listen to and engage with customers and key
       stakeholders. Customers want to use digital channels to access information or buy
       services. We will pilot a new energy usage program via a digital platform. We are
       providing additional training to our customer operations representatives so they can
       provide an exceptional experience to every customer, every time. . . .


       We believe that regulators must ensure that these new technologies are provided to
       all. AEP is at the forefront of developing a truly sustainable, inclusive energy future
       that recognizes the unique needs of all customers and leaves no one behind. We will
       continue to advance new and innovative energy solutions, working with our
       customers, regulators and legislators to make the changes to support a modern
       and resilient grid.

                                          *       *       *

       Regulatory and Public Policy

       . . . In 11 states, AEP operates within a variety of jurisdictional regulatory
       frameworks. Those frameworks primarily are governed by state legislatures that
       direct state regulatory commissions to achieve overarching policy goals. These
       regulatory and legislative environments, in conjunction with federal regulation and
       legislation, define the parameters of AEP’s business and planning models.

       Our focus always is on a safe and reliable grid that is resilient and adaptive. Our
       generation, transmission and distribution system investments directly affect our
       customers and shareholders. These investments must coexist with regulation and
       policy considerations such as environmental rules and affordability. As we
       transition to a clean energy future, we are reshaping our asset base in a reliable and
       affordable manner for our customers while managing the financial risk for our

                                                 21
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 22 of 45 PAGEID #: 22




     shareholders. The changes we are making must be compatible with the regulatory
     frameworks in which we exist on the wires (transmission and distribution) side of
     the business.

     However, regulatory frameworks must be responsive to today’s technology and
     customer preference environment. AEP is at the forefront of evaluating and
     deploying technologies to improve the customer experience. Regulations must be
     progressive enough to allow the utility to provide these solutions for customers.
     The customer must be the center of our focus and analysis and regulatory policy
     decision-making.

                                      *       *      *

     Public Policy and Issue Management

     Similar to other companies, AEP has a public policy strategy that seeks to influence
     decisions being made at Congress, FERC, state legislatures and regulatory
     commissions. We do this to mitigate our risk exposure and to help us achieve our
     business objectives.

     In 2017, AEP formed the Policy Advisory Team (PAT) to better manage public
     policy issues. This team is composed of senior executives across AEP, including
     some of those who represent the company in Washington, D.C., and the state
     capitals in our service territory.

     The PAT considers policy options on issues of relevance to the company. The
     multi-departmental, cross-function structure of the PAT supports internal policy
     analysis and debate. The approach helps ensure that AEP is speaking with one
     voice on important public policy considerations and that all employees, and
     ultimately external stakeholders, are clear on our policy positions and objectives.
     The goal of the PAT is to ensure a smoother, more consistent policy strategy
     across the company.

     In strategic discussions about how we can best align ourselves to maximize the
     customer benefits of new technologies, we talk about “future-proofing” our
     company. The pace and scope of change underway in the utility sector is
     indisputable. In order to adapt and bring the most value to customers, utilities
     require a regulatory and legislative framework that allows them the flexibility to
     incorporate new technologies, including those we’ve not even envisioned yet. We
     need a regulatory paradigm that fosters rapid deployment of creative energy
     solutions. . . .

     But we also have to ask ourselves: “What about the customer? Do they have to
     wait longer for a solution? What do they do in the meantime?” We must center
     our decisions and timing on a framework that works for all customers.



                                             22
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 23 of 45 PAGEID #: 23




       . . . In 2017, the Public Utilities Commission of Ohio (PUCO) launched an
       initiative called PowerForward to study grid modernization in the state. The
       PUCO is focusing on new technologies and regulatory innovation that could
       benefit customers in the future while modernizing the grid. Through this process,
       the PUCO has acknowledged customers’ desire for more technology and
       innovation in the electric sector, along with the need for a modern regulatory
       road map to make it happen. This is the type of structured stakeholder conversation
       that is needed to enable the paradigm shift to occur.

       (Emphasis added.)

       46.     On July 26, 2018, AEP filed its quarterly report on Form 10-Q with the SEC for the

period ended June 30, 2018 (the “2Q 18 10-Q”) which was signed by Defendant Buonaiuto.

Attached to the 2Q 18 10-Q were certifications pursuant to SOX signed by Defendants Akins and

Tierney attesting to the accuracy of the financial statements and the disclosure of all fraud.

       47.     The 2Q 18 10-Q stated the following, in pertinent part, regarding the Company’s

clean energy strategy and its regulatory and legislative outlook and efforts:

       AEP has taken action to reduce and offset CO2 emissions from its generating fleet
       and expects CO2 emissions from its operations to continue to decline due to the
       retirement of some of its coal-fired generation units, and actions taken to diversify
       the generation fleet and increase energy efficiency where there is regulatory support
       for such activities. The majority of the states where AEP has generating facilities
       passed legislation establishing renewable energy, alternative energy and/or energy
       efficiency requirements that can assist in reducing carbon emissions. Management
       is taking steps to comply with these requirements, including increasing wind and
       solar installations, power purchases and broadening AEP System’s portfolio of
       energy efficiency programs.

                                          *      *       *

       Federal and state legislation or regulations that mandate limits on the emission of
       CO2 could result in significant increases in capital expenditures and operating
       costs, which in turn, could lead to increased liquidity needs and higher financing
       costs. Excessive costs to comply with future legislation or regulations might force
       AEP to close some coal-fired facilities, which could possibly lead to impairment of
       assets.

       48.     On October 25, 2018, AEP filed its quarterly report on Form 10-Q with the SEC

for the period ended September 30, 2018 (the “3Q 18 10-Q”) which was signed by Defendant

                                                23
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 24 of 45 PAGEID #: 24




Buonaiuto. Attached to the 3Q 18 10-Q were certifications pursuant to SOX signed by Defendants

Akins and Tierney attesting to the accuracy of the financial statements and the disclosure of all

fraud.

         49.    The 3Q 18 10-Q stated the following, in pertinent part, regarding the Company’s

clean energy strategy and its regulatory and legislative outlook and efforts:

         AEP has taken action to reduce and offset CO2 emissions from its generating fleet
         and expects CO2 emissions from its operations to continue to decline due to the
         retirement of some of its coal-fired generation units, and actions taken to diversify
         the generation fleet and increase energy efficiency where there is regulatory support
         for such activities. The majority of the states where AEP has generating facilities
         passed legislation establishing renewable energy, alternative energy and/or energy
         efficiency requirements that can assist in reducing carbon emissions. Management
         is taking steps to comply with these requirements, including increasing wind and
         solar installations, power purchases and broadening AEP System’s portfolio of
         energy efficiency programs.

         In February 2018, AEP announced new intermediate and long-term CO2 emission
         reduction goals, based on the output of the company’s integrated resource plans,
         which take into account economics, customer demand, grid reliability and
         resiliency, regulations and the company’s current business strategy. The
         intermediate goal is a 60% reduction from 2000 CO2 emission levels from AEP
         generating facilities by 2030; the long-term goal is an 80% reduction of CO2
         emissions from AEP generating facilities from 2000 levels by 2050. AEP’s total
         projected CO2 emissions in 2018 are approximately 90 million metric tons, a 46%
         reduction from AEP’s 2000 CO2 emissions of approximately 167 million metric
         tons.

         Federal and state legislation or regulations that mandate limits on the emission of
         CO2 could result in significant increases in capital expenditures and operating
         costs, which in turn, could lead to increased liquidity needs and higher financing
         costs. Excessive costs to comply with future legislation or regulations might force
         AEP to close some coal-fired facilities, which could possibly lead to impairment of
         assets.

         50.    On December 5, 2018, AEP issued a press release entitled “AEP Announces

Executive Leadership Changes” which touted the Company’s strategy towards cleaner energy,

quoting Defendant Akins: “With these changes, we will fully leverage the operational expertise,

strong leadership abilities and deep industry knowledge of these key leaders as we continue our

                                                 24
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 25 of 45 PAGEID #: 25




long-term strategy of investment in smart, cleaner energy infrastructure and innovative

technological solutions for the benefit of our customers.” (Emphasis added.)

       51.     On February 21, 2019, AEP filed its yearly report on Form 10-K with the SEC for

the year ended December 31, 2018 (the “2018 Annual Report”) which was signed by Defendants

Akins, Tierney, and Buonaiuto. Attached to the 2018 Annual Report were certifications pursuant

to SOX signed by Defendants Akins and Tierney attesting to the accuracy of the financial

statements and the disclosure of all fraud.

       52.     The 2018 Annual Report stated the following, in pertinent part, regarding the

regulations and Company’s legislative outlook and efforts:

       Corporate Governance

       In response to environmental issues and in connection with its assessment of AEP’s
       strategic plan, the Board of Directors continually reviews the risks posed by new
       environmental rules and requirements that could accelerate the retirement of coal-
       fired generation assets. The Board of Directors is informed of any new
       environmental regulations and proposed regulation or legislation that would
       significantly affect the company. The Board’s Committee on Directors and
       Corporate Governance oversees the company’s annual Corporate Accountability
       Report, which includes information about the company’s environmental, social,
       governance and financial performance. In addition, as a result of ongoing corporate
       governance outreach efforts with shareholders, AEP set new CO2 emission
       reduction goals that were published in a new report in February 2018, “American
       Electric Power: Strategic Vision for a Clean Energy Future.”

                                          *      *       *

       Public utilities have traditionally financed capital investments until the new asset is
       placed in service. Provided the asset was found to be a prudent investment, it was
       then added to rate base and entitled to a return through rate recovery. Given long
       lead times in construction, the high costs of plant and equipment and volatile capital
       markets, management actively pursues strategies to accelerate rate recognition of
       investments and cash flow. AEP representatives continue to engage state
       commissioners and legislators on alternative ratemaking options to reduce
       regulatory lag and enhance certainty in the process. These options include pre-
       approvals, a return on construction work in progress, rider/trackers, formula rates
       and the inclusion of future test-year projections into rates.



                                                25
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 26 of 45 PAGEID #: 26




                                          *      *       *

        In the event that alternative generation resources are mandated, subsidized or
        encouraged through climate legislation or regulation or otherwise are economically
        competitive and added to the available generation supply, such resources could
        displace a higher marginal cost fossil plant, which could reduce the price at which
        market participants sell their electricity. These events could cause AGR to retire
        generating capacity prior to the end of its estimated useful life.

        53.     On April 23, 2019, AEP issued a press release entitled “AEP Investing To Deliver

Smarter, Cleaner Energy To Customers, Shareholders Learn At Annual Meeting” which touted the

Company’s focus on cleaner energy, quoting Defendant Akins:

        “AEP continually delivers strong earnings and dividend growth driven by our
        investments in a smarter, cleaner energy system,” Akins said. “Beyond our capital
        investments, our employees and their commitment to the customers and
        communities we serve drives the success of our company. Our talented workforce
        is focused on providing reliable, affordable and cleaner energy and new
        technologies to meet our customers’ needs and expectations,” Akins said.

        54.     On April 26, 2019, AEP filed its quarterly report on Form 10-Q with the SEC for

the period ended March 31, 2019 (the “1Q 19 10-Q”) which was signed by Defendant Buonaiuto.

Attached to the 1Q 19 10-Q were certifications pursuant to SOX signed by Defendants Akins and

Tierney attesting to the accuracy of the financial statements and the disclosure of all fraud.

        55.     The 1Q 19 10-Q stated the following regarding HB6:

        The Ohio House of Representatives introduced a clean energy bill in April 2019,
        which would offer incentives for power-generating facilities with zero- or reduced
        carbon emissions. The Ohio bill also proposes to eliminate the current energy
        efficiency and renewable mandates for Ohio electric utilities in order to pay for the
        zero/reduced emission credits. Management is analyzing the impact of this new
        legislation but it could be significantly amended before passage and cannot, at this
        time, estimate the impact results on operations, cash flows or financial condition.

        56.     On May 9, 2019, AEP issued a press release entitled “AEP Releases 2019 Corporate

Accountability Report” which touted the Company’s focus on its customers and clean energy

stating in pertinent part:



                                                26
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 27 of 45 PAGEID #: 27




       The report’s theme, “Innovating for a Boundless Energy Future,” mirrors AEP’s
       efforts to embrace technology and digitization to deliver clean, reliable energy to
       its customers and value to its shareholders, while also being a positive force in
       the communities it serves.

       “At AEP, we see a future full of opportunities for our customers, employees,
       investors, communities and our company. To create this future, we must be
       increasingly innovative to develop cutting-edge solutions to complex problems.
       We must be agile and adaptable to leverage rapid, sometimes unpredictable,
       changes in technology. And we must nurture a diverse and engaged workforce that
       is clearly focused on delivering 21st century customer service as we further
       electrify our economy,” said Nicholas K. Akins, AEP chairman, president and chief
       executive officer, in the report’s introduction.

       Four key principles of the company’s sustainable development strategy – being a
       catalyst for change; supporting environmental stewardship; supporting strong
       local communities; and building a brighter energy future together with its
       customers – guide AEP as the company creates benchmarks and goals.

       (Emphasis added.)

       57.     Also, on May 9, 2019, AEP released its 2019 Corporate Accountability Report,

which stated the following, in pertinent part, regarding the Company’s regulatory and legislative

outlook and efforts:

       Lobbying and Political Contributions

       . . . The investments needed to modernize the power grid are in the billions of
       dollars, and the stakes have never been higher. To understand the policies and
       regulations that could affect our business, we participate in a number of
       organizations, lobby on our customers’ behalf and contribute to political
       candidates, where allowed by law.

       Each year, AEP publicly discloses lobbying activities and political contributions.
       We also annually report on the portions of membership dues paid to organizations
       such as the U.S. Chamber of Commerce and Edison Electric Institute (EEI) that go
       toward lobbying. We post our lobbying policy online and we discuss political
       contributions annually with AEP’s Board of Directors’ Committee on Directors and
       Corporate Governance. . . .

       We believe in transparency and active participation in public debate. Our
       experience is that open, candid discussion and a good-faith attempt to reach
       common ground is the best way to do business.



                                              27
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 28 of 45 PAGEID #: 28




       (Emphasis added.)

       58.        On July 25, 2019, AEP filed its quarterly report on Form 10-Q with the SEC for the

period ended June 30, 2019 (the “2Q 19 10-Q”) which was signed by Defendant Buonaiuto.

Attached to the 2Q 19 10-Q were certifications pursuant to SOX signed by Defendants Akins and

Tierney attesting to the accuracy of the financial statements and the disclosure of all fraud.

       59.        The 2Q 19 10-Q stated the following regarding HB6:

       In July 2019, clean energy legislation which offers incentives for power-generating
       facilities with zero- or reduced carbon emissions was signed into law by the Ohio
       Governor. The clean energy legislation phases out current energy efficiency and
       renewable mandates after 2020 and 2026, respectively. The bill also provides for
       the recovery of existing renewable energy contracts on a bypassable basis through
       2032 and includes a provision for recovery of certain legacy generation resources
       which will be allocated to all electric distribution utilities on a non-bypassable
       basis. Management is analyzing the impact of this legislation and at this time
       cannot estimate the impact on results of operations, cash flows or financial
       condition.

       60.        On September 10, 2019, AEP issued a press release entitled “AEP Accelerates

Carbon Dioxide Emissions Reduction Target” which touted the Company’s strategy on cleaner

energy stating:

       COLUMBUS, Ohio, Sept. 10, 2019 - American Electric Power (NYSE: AEP) is
       cutting carbon dioxide emissions faster than anticipated and has revised its 2030
       reduction target to 70 percent from 2000 levels. The company’s previous target
       was a 60 percent reduction from 2000 levels by 2030.

       AEP also is confident that it will cut carbon dioxide emissions by more than 80
       percent from 2000 levels by 2050.

       “AEP’s overall strategy is focused on modernizing the power grid, expanding
       renewable energy resources and delivering reliable energy to our customers. Our
       transition to a cleaner, more balanced resource mix helps mitigate risk for our
       customers and shareholders alike and will ensure a more resilient and reliable
       energy system into the future,” said Nicholas K. Akins, AEP chairman, president
       and chief executive officer.

       “We’ve made significant progress in reducing carbon dioxide emissions from our
       power generation fleet and expect our emissions to continue to decline. Our

                                                 28
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 29 of 45 PAGEID #: 29




       aspirational emissions goal is zero emissions by 2050. Technological advances,
       including energy storage, will determine how quickly we can achieve zero
       emissions while continuing to provide reliable, affordable power for customers,”
       Akins said.

       AEP will achieve future carbon dioxide emissions reductions through a variety of
       actions including investments in renewable generation, investments in transmission
       and distribution technologies to enhance efficiency, and expanded demand
       response and energy efficiency programs.

       AEP’s resource plans include adding more than 8,600 megawatts (MW) of new
       wind and solar generation to serve the company’s regulated utility customers by
       2030. . . .

       AEP also is investing in renewable energy in competitive markets. Between 2019
       and 2023, the company plans to invest approximately $2.2 billion in contracted
       renewables and renewables integrated with energy storage. AEP already added
       1,302 megawatts of contracted renewables to its portfolio this year.

       To enhance the efficiency and resiliency of the energy delivery system, AEP’s
       long-term strategy includes plans to invest approximately $25 billion over the
       next 5 years in its transmission and distribution systems.

       AEP has factored future carbon regulations into the company’s evaluation of
       generation resource options for many years and will continue to do so. The
       company already has cut its carbon dioxide emissions by 59 percent since 2000.

       AEP’s generation capacity has gone from 70 percent coal-fueled in 2005 to 45
       percent today. Its natural gas capacity increased from 19 percent in 2005 to 28
       percent today, and its renewable generation capacity has increased from 4 percent
       in 2005 to 17 percent today.

       (Emphasis added.)

       61.     On September 16, 2019, AEP published a newsletter entitled “Regulatory News:

What’s going on with PJM’s BRA and House Bill 6?” which explained HB6 and its connection to

the Company, in pertinent part, in the following:

       What is Ohio’s HB 6?
       When initially introduced, the purpose of the legislation was for all Ohio electricity
       customers to pay to keep open Lake County’s Perry and Ottawa County’s Davis-
       Besse nuclear plants, owned by FirstEnergy Solutions (FES), a subsidiary of
       FirstEnergy Corp. However, the goal of the legislation expanded to support
       additional renewable energy resources while eliminating certain utility energy

                                                29
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 30 of 45 PAGEID #: 30




     efficiency activities and renewable portfolio compliance standards. The
     expansion to HB 6 came with the expectation that distribution charges would be
     reduced by eliminating the energy efficiency rider charge while promoting clean
     air resources.

     On July 24, 2019, Ohio Governor Mike DeWine signed into law HB 6. This law
     creates the Nuclear Generation Fund and the Renewable Generation Fund, to be
     administered by the Ohio Air Quality Development Authority. These funds allow
     for a “qualifying nuclear resource” or a “qualifying renewable resource” to be
     eligible for participation in the programs for one or more program years, as
     determined by the Authority.

     What’s included in HB 6?
     HB 6 essentially contains five main provisions.
     1. Establishes a Clean Air Fund to subsidize two nuclear power plants.
     2. Renewable Funding Opportunity, which supports pre-qualified solar projects
     certificated before June 2019.
     3. Ohio Valley Electric Corporation (OVEC) Statewide Recovery Charge,
     subsidizing two coal-fired power plants.
     4. Reduced Renewable Portfolio Standards (RPS) required by electricity
     suppliers.
     5. Energy efficiency programs offered by utilities end December 2020.

     What are the details of each provision in HB 6?

                                       *       *       *

     Renewable Funding Opportunity
     HB 6 supports eligible solar facilities over 50MW that already have siting
     certification as of June 2019. AEP Ohio has two eligible solar renewable facilities
     located in Highland County. These are the Willowbrook project (100MW) and the
     Hecate project (300MW).

     Through the renewable funding opportunity, a $9 per MWh credit is paid to
     project owners of eligible solar facilities for a total of $20 million annually, which
     covers about 1,000MW of solar. This credit is assessed from the $20 million
     renewable portion of the Clean Air Fund as described above.

     OVEC Statewide Recovery
     The Ohio Valley Electric Corporation (OVEC) and the Indiana-Kentucky Electric
     Corporation (IKEC) are generating stations originally built in the 1950s and
     provided electric power for the U.S. Department of Energy’s uranium enrichment
     facilities then near Portsmouth, Ohio. Today, OVEC and IKEC own two coal power
     plants; Kyger Creek Generating Station (1.1GW) in Cheshire, Ohio and Clifty
     Creek Generating Station (1.3GW) in Madison, Indiana. Under HB 6, OVEC and
     IKEC will receive subsidies to support their coal-fired power plants.

                                              30
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 31 of 45 PAGEID #: 31




       Effective January 1, 2020, distribution customers throughout Ohio will incur a
       non-bypassable charge, called the Purchased Power Agreement (PPA) Rider.
       The rider for residential customers is $1.50 per month. Commercial and
       industrial customers’ monthly charge is $1,500 for this rider. The PPA Rider will
       begin in 2021 and will be reviewed by the Commission every three years to
       determine continuation of the rider, which is to end December 31, 2030.

       Reduced Renewable Portfolio Standards
       In 2008, the State of Ohio established their Renewable Portfolio Standards (RPS)
       policy. This policy required providers selling electricity to consumers to provide a
       specific percentage of that supply from renewable sources. Currently, the RPS
       policy states 12.5% of your electricity must come from renewable energy sources
       by 2027, with 0.5% required to be solar.

       HB 6 reduces the RPS target for utilities and competitive retail energy suppliers
       to 8.5%, and the solar portion is eliminated by December 31, 2026. This means
       that most Ohio customers will see a price reduction by the elimination of RPS
       requirements effective January 1, 2027. However, an AEP Ohio customer should
       read the section below on the AEP Ohio bypassable renewable legacy charge, as
       you will continue to receive this charge through 2032.

       (Emphasis added.)

       62.    The September 16, 2019, newsletter also stated the following, in pertinent part,

regarding the referendum effort to repeal HB6 – without mentioning the Company’s own actions:

       Potential Referendum on Ohio HB 6
       Groups are forming a campaign to add a referendum on the November 2020 ballot
       to repeal HB 6. Opponents include environmental groups opposed to the
       elimination of energy efficiency programs and developers of natural gas-fired
       power plants opposed to the subsidy for nuclear generation. These groups are
       circulating a petition, seeking 1,000 signatures from registered Ohio voters in hopes
       of adding a referendum to the 2020 election.

       The petition was approved by the Ohio Attorney General David Yost on August
       29, 2019. The next step opponents will take is to obtain approximately 266,000
       additional signatures to place the petition on the November 2020 ballot for a vote.
       Finally, a majority vote is needed to approve the petition for the repeal of HB 6.

       Meanwhile FES [FirstEnergy Solutions Corp., now Energy Harbor Corp.] filed
       a challenge to the petition with the Supreme Court of Ohio on September 4,
       stating HB 6 is a tax and tax laws are exempt from referendums.




                                               31
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 32 of 45 PAGEID #: 32




         This petition process will take a long time before being resolved and may create
         market uncertainty for everyone at each step of the process. This uncertainty may
         impact energy supply plans and strategies for all involved.

         (Emphasis added.)

         63.    On October 24, 2019, AEP filed its quarterly report on Form 10-Q with the SEC

for the period ended September 30, 2019 (the “3Q 19 10-Q”) which was signed by Defendant

Buonaiuto. Attached to the 3Q 19 10-Q were certifications pursuant to SOX signed by Defendants

Akins and Tierney attesting to the accuracy of the financial statements and the disclosure of all

fraud.

         64.    The 3Q 19 10-Q stated the following regarding HB6:

         In July 2019, clean energy legislation which offers incentives for power-generating
         facilities with zero or reduced carbon emissions was signed into law by the Ohio
         Governor. The clean energy legislation phases out current energy efficiency and
         renewable mandates no later than 2020 and after 2026, respectively. The bill
         provides for the recovery of existing renewable energy contracts on a bypassable
         basis through 2032. The clean energy legislation also includes a provision for
         recovery of OVEC costs through 2030 which will be allocated to all electric
         distribution utilities on a non-bypassable basis. OPCo’s Inter-Company Power
         Agreement for OVEC terminates in June 2040. To the extent that OPCo is unable
         to recover the costs of renewable energy contracts on a bypassable basis by the end
         of 2032, recover costs of OVEC after 2030 or fully recover energy efficiency costs
         through 2020 it could reduce future net income and cash flows and impact financial
         condition.

         (Emphasis added.)

         65.    On February 20, 2020, AEP filed its yearly report on Form 10-K with the SEC for

the year ended December 31, 2019 (the “2019 Annual Report”) which was signed by Defendants

Akins, Tierney, and Buonaiuto. Attached to the 2019 Annual Report were certifications pursuant

to SOX signed by Defendants Akins and Tierney attesting to the accuracy of the financial

statements and the disclosure of all fraud.

         66.    The 2019 Annual Report stated the following, in pertinent part, regarding HB6:



                                                32
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 33 of 45 PAGEID #: 33




       In January 2020, provisions enacted as part of Ohio Am. Sub. H.B. 6 went into
       effect that replace the PPA rider and enable OPCo to continue recovering the net
       cost associated with the ICPA [Inter-Company Power Agreement], including any
       additional contractual entitlement received as a result of the FirstEnergy
       Solutions (FES) bankruptcy, through 2030.

       (Emphasis added.)

       67.     On May 6, 2020, AEP filed its quarterly report on Form 10-Q with the SEC for the

period ended March 31, 2020 (the “1Q 20 10-Q”) which was signed by Defendant Buonaiuto.

Attached to the 1Q 20 10-Q were certifications pursuant to SOX signed by Defendants Akins and

Tierney attesting to the accuracy of the financial statements and the disclosure of all fraud.

       68.     The 1Q 20 10-Q stated the following regarding HB6:

       In July 2019, clean energy legislation which offers incentives for power-generating
       facilities with zero or reduced carbon emissions was signed into law by the Ohio
       Governor. The clean energy legislation phases out current energy efficiency
       including lost shared savings revenues of $26 million annually and renewable
       mandates no later than 2020 and after 2026, respectively. The bill provides for the
       recovery of existing renewable energy contracts on a bypassable basis through
       2032. The clean energy legislation also includes a provision for recovery of
       OVEC costs through 2030 which will be allocated to all electric distribution
       utilities on a non-bypassable basis. OPCo’s Inter-Company Power Agreement for
       OVEC terminates in June 2040. To the extent that OPCo is unable to recover the
       costs of renewable energy contracts on a bypassable basis by the end of 2032,
       recover costs of OVEC after 2030 or fully recover energy efficiency costs through
       2020 it could reduce future net income and cash flows and impact financial
       condition.

       (Emphasis added.)

       69.     On May 20, 2019, AEP released its 2020 Corporate Accountability Report, which

stated the following, in pertinent part, regarding the Company’s regulatory and legislative outlook

and efforts:

       At AEP, we never have been more certain of our responsibility to a sustainable
       future for our customers, communities and employees. We will continue to take
       steps to reduce our carbon footprint, to empower customers and to value and
       develop our workforce. Together, our energy and future are truly boundless.



                                                33
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 34 of 45 PAGEID #: 34




                                         *       *       *

       Public Policy & Issue Management


       Similar to other companies, AEP has a public policy strategy that seeks to inform
       decisions made by Congress, the Federal Energy Regulatory Commission (FERC),
       North American Electric Reliability Corporation (NERC), state legislatures and
       regulatory commissions, and Regional Transmission Organizations (RTOs).

       AEP’s Policy Advisory Team (PAT), consisting of senior executives across all
       business functions and departments, considers policy options on issues of relevance
       to the company and supports internal policy analysis and debate. This approach
       ensures that AEP is speaking with one voice and that all employees with external
       contacts are clear on our policy positions and objectives. Since its inception in May
       2017, the PAT has reviewed more than two dozen issues, including 13 in 2019.

                                         *       *       *

       Climate & Lobbying


       Some stakeholders are asking AEP whether our lobbying practices and the policy
       positions taken by trade organizations to which we belong are in alignment with
       the Paris Climate Agreement. We believe in transparency and active participation
       in public policy development, regardless of the issue or position. Moreover, AEP
       is a respected and sought-after voice when it comes to energy policy-related matters
       in the U.S.

       We report on our public policy positions, annual lobbying and political
       contributions, policy on political contributions and trade association
       memberships. We post our lobbying policy online and have consistently
       acknowledged our intent to participate actively in the political process and in
       lobbying activities at the national, state and local levels. At AEP, we must consider
       a number of factors when engaging in this arena, as public policy develops through
       negotiation and compromise. While many divergent issues are of importance to us,
       we cannot invest all of our efforts to focus on a single issue. We are obligated to
       deliver safe, reliable, affordable and secure electricity to all of our customers, and
       we develop our public policy positions with that in mind.

       (Emphasis added.)

       70.    The statements contained in ¶¶ 29-69 were materially false and/or misleading

because they misrepresented and failed to disclose the following adverse facts pertaining to the

Company’s business, operations and prospects, which were known to Defendants or recklessly

                                                34
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 35 of 45 PAGEID #: 35




disregarded by them. Specifically, Defendants made false and/or misleading statements and/or

failed to disclose that: (1) the Company covertly participated in the “the largest public corruption

case in Ohio history”; (2) the Company secretly funneled substantial funds to Ohio political

organizations and politicians to bribe politicians to pass HB6, which benefitted the Company and

its coal-fired generation assets; (3) the Company partially funded a massive, misleading

advertising campaign in support of HB6 and in opposition to a ballot initiative to repeal HB6 by

passing substantial sums through a web of dark money entities and front companies in order to

conceal the Company’s involvement; (4) the Company aided in subverting a citizens’ ballot

initiative to repeal HB6; (5) as a result of the foregoing, Defendants’ Class Period statements

regarding the Company’s regulatory and legislative efforts were materially false and misleading;

(6) as a result of the foregoing, the Company would face increased scrutiny; (7) the Company was

subject to undisclosed risk of reputational, legal and financial harm; (8) the bribery scheme would

jeopardize the benefits the Company sought brought by HB6; (9) as opposed to the Company’s

repeated public statements regarding a move to clean energy, it sought a dirty energy bailout; (10)

as opposed to the Company’s repeated public statements regarding protection of its customers’

interests, the Company sought an extra and state-mandated surcharge on its customers’ bills; and

(11) as a result of the foregoing, Defendants’ statements about its business, operations, and

prospects, were materially false and misleading and/or lacked a reasonable basis at all relevant

times.

                                   THE TRUTH EMERGES

         71.   On July 25, 2020, the Columbus Dispatch published an article entitled “Columbus

utility giant AEP funded dark money spending in HB 6 campaign” which reported the following

regarding the Company’s actions in connection with the growing scandal:



                                                35
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 36 of 45 PAGEID #: 36




     A dark-money group wholly funded by House Bill 6 beneficiary and Columbus
     utility giant American Electric Power contributed $350,000 toward the
     campaigns now at the center of a racketeering and bribery case that ensnared
     House Speaker Larry Householder, an investigation by The Dispatch finds.

     Empowering Ohio’s Economy Inc., a nonprofit operated solely with AEP funds,
     gave $150,000 to Generation Now, another dark-money group that received $60
     million from FirstEnergy-related interests to ensure passage and survival of a $1
     billion ratepayer bailout of a subsidiary’s pair of nuclear power plants.

     Empowering Ohio also gave $200,000 to the Coalition for Opportunity & Growth,
     which is related to a similarly named political action committee that spent $1
     million in the 2018 campaigns of Householder-favored Republican candidates to
     help ensure that he had their votes to become speaker.

     An affidavit filed by an FBI agent in the racketeering case details spending of
     $350,000 by an unidentified “interest group that was funded exclusively by $13
     million from another energy company that supported HB 6.”

     A source close to the investigation confirmed to The Dispatch that the energy
     company is American Electric Power, a publicly traded company that serves 5.5
     million customers in 11 states and earned $2.1 billion last year.

     The “social welfare” nonprofit is not required to disclose its donors or the source
     of its funding.

                                      *      *       *


     AEP benefited from the passage of House Bill 6 with its six-year-plus extension
     through 2030 of a monthly surcharge of up to $1.50 on Ohio residential
     electricity customers. Industrial and commercial customers can pay up to $1,500
     a month. The fee generates about $50 million a year to subsidize a pair of old
     coal-burning power plants it partly owns in a consortium with other utilities.

     The plants -- Kyger Creek near Cheshire, Ohio, and Clifty Creek near Madison,
     Indiana -- were built in the mid-1950s to supply electricity to the former uranium-
     enrichment plant near Piketon, Ohio. AEP owns the biggest stake in the coal plants
     at 43% and buys about 60% of the electricity generated by the plants.

                                      *      *       *

     American Electric Power’s political action committee contributed nearly $672,000
     to Ohio politicians and parties between 2016 and mid-2020, including $17,250 to
     Householder and $86,792 to the House Republicans’ campaign account.



                                            36
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 37 of 45 PAGEID #: 37




                                      *      *       *

     “I don’t know what they were up to,” Hadden [a board member of AEP’s political
     action committee, a lawyer who has represented AEP] said of Generation Now and
     Coalition for Opportunity & Growth, adding he did not recall which board member
     sought the funding. He said he never discussed the matter with DeWine.

                                      *      *       *

     Empowering Ohio’s Economy spent $162,500 on lobbying between 2016 and
     2018, according to its tax filings. The group was not registered with the state as
     attempting to influence legislation.

     The Coalition for Opportunity & Growth, the independent-expenditure political
     action committee which received $200,000 from the AEP dark-money group in
     2017, the dark-money Coalition & Opportunity PAC that backed Householder
     candidates and Generation Now all were incorporated by Eric Lycan, a lawyer and
     Republican consultant in Lexington, Kentucky.

     While not identified in the affidavit, the Coalition for Opportunity & Growth cash
     went largely unused until early this year, when it went out to support Householder-
     blessed candidates in the GOP primary, the FBI affidavit said.

     It was laundered through the related PAC to conceal its association with
     Generation Now, the FBI affidavit states: “Generation Now had generated
     negative media publicity in 2019 and candidates expressed concern to
     Householder about their association with it.”

     The FBI affidavit said FirstEnergy interests provided $390,000 to the group, which
     paid $54,000 to Generation Now, $191,000 to a media-placement firm, $200,000
     to a public relations firm and $100,000 to JPL & Associates, a firm controlled by
     Jeff Longstreth, Householder’s top political aide. Longstreth is among those
     arrested and facing up to 20 years in prison if convicted in the H.B. 6 case.

                                      *      *       *

     Householder and four others were arrested Tuesday following an FBI investigation
     that captured phone calls, text messages and recordings of meetings centering
     around the alleged pay-to-play scheme described by U.S. Attorney Dave DeVillers
     as the largest public corruption case in Ohio history.

     (Emphasis added.)




                                            37
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 38 of 45 PAGEID #: 38




       72.     On this news, shares of AEP shares fell $4.79 per share, or over 5%, to close at

$83.26 per share on July 27, 2020, the next trading day, on unusually heavy trading volume,

damaging investors.

       73.     As a result of Defendants’ wrongful acts and omissions, and the decline in the

market value of the Company’s common shares, Plaintiff and other Class members have suffered

significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       74.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than Defendants who

purchased AEP securities publicly traded during the Class Period, and who were damaged thereby

(the “Class”). Excluded from the Class are Defendants, the officers and directors of AEP, members

of the Individual Defendants’ immediate families and their legal representatives, heirs, successors

or assigns and any entity in which Defendants have or had a controlling interest.

       75.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, the Company’s securities were actively traded

publicly. While the exact number of Class members is unknown to Plaintiff at this time and can

be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds, if not

thousands, of members in the proposed Class.

       76.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.




                                                38
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 39 of 45 PAGEID #: 39




       77.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

       78.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       •       whether the Exchange Act was violated by Defendants’ acts as alleged herein;

       •       whether statements made by Defendants to the investing public during the Class

               Period misrepresented material facts about the financial condition and business of

               AEP;

       •       whether Defendants’ public statements to the investing public during the Class

               Period omitted material facts necessary to make the statements made, in light of

               the circumstances under which they were made, not misleading;

       •       whether the Defendants caused AEP to issue false and misleading filings during

               the Class Period;

       •       whether Defendants acted knowingly or recklessly in issuing false filings;

       •       whether the prices of AEP securities during the Class Period were artificially

               inflated because of the Defendants’ conduct complained of herein; and

       •       whether the members of the Class have sustained damages and, if so, what is the

               proper measure of damages.

       79.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden


                                                 39
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 40 of 45 PAGEID #: 40




of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       80.     Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

       •       AEP shares met the requirements for listing, and were listed and actively traded

               on the NYSE exchange, an efficient market;

       •       As a public issuer, AEP filed periodic public reports;

       •       AEP regularly communicated with public investors via established market

               communication mechanisms, including through the regular dissemination of press

               releases via major newswire services and through other wide-ranging public

               disclosures, such as communications with the financial press and other similar

               reporting services;

       •       AEP’s securities were liquid and traded with moderate to heavy volume during the

               Class Period; and

       •       AEP was followed by a number of analysts who wrote reports that were widely

               distributed and publicly available.

       81.     Based on the foregoing, the market for AEP securities promptly digested current

information regarding the Company from all publicly available sources and reflected such

information in the prices of the shares, and Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

       82.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.




                                                 40
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 41 of 45 PAGEID #: 41




United States, 406 U.S. 128 (1972), as Defendants omitted material information in their Class

Period statements in violation of a duty to disclose such information as detailed above.

                                             COUNT I

          For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder

                                      Against All Defendants

        83.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        84.     This Count is asserted against Defendants is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        85.     During the Class Period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

        86.     Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

                •      employed devices, schemes and artifices to defraud;

                •      made untrue statements of material facts or omitted to state material facts

                       necessary in order to make the statements made, in light of the

                       circumstances under which they were made, not misleading; or

                •      engaged in acts, practices and a course of business that operated as a fraud

                       or deceit upon plaintiff and others similarly situated in connection with their

                       purchases of AEP securities during the Class Period.




                                                41
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 42 of 45 PAGEID #: 42




          87.   Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of the Company were materially false and

misleading; knew that such statements or documents would be issued or disseminated to the

investing public; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws. These

defendants by virtue of their receipt of information reflecting the true facts of the Company, their

control over, and/or receipt and/or modification of the Company’s allegedly materially misleading

statements, and/or their associations with the Company which made them privy to confidential

proprietary information concerning the Company, participated in the fraudulent scheme alleged

herein.

          88.   Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other AEP personnel to members of the

investing public, including Plaintiff and the Class.

          89.   As a result of the foregoing, the market price of the Company’s securities was

artificially inflated during the Class Period. In ignorance of the falsity of Defendants’ statements,

Plaintiff and the other members of the Class relied on the statements described above and/or the

integrity of the market price of the Company’s securities during the Class Period in purchasing

AEP securities at prices that were artificially inflated as a result of Defendants’ false and

misleading statements.




                                                42
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 43 of 45 PAGEID #: 43




        90.     Had Plaintiff and the other members of the Class been aware that the market price

of AEP securities had been artificially and falsely inflated by Defendants’ misleading statements

and by the material adverse information which Defendants did not disclose, they would not have

purchased AEP securities at the artificially inflated prices that they did, or at all.

        91.     As a result of the wrongful conduct alleged herein, Plaintiff and other members of

the Class have suffered damages in an amount to be established at trial.

        92.     By reason of the foregoing, Defendants have violated Section 10(b) of the 1934 Act

and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members of

the Class for substantial damages which they suffered in connection with their purchase of AEP

securities during the Class Period.

                                              COUNT II

                         Violations of Section 20(a) of the Exchange Act

                                Against the Individual Defendants

        93.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

        94.     During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the

conduct of AEP’s business affairs. Because of their senior positions, they knew the adverse non-

public information about AEP’s misstatement of revenue and profit and false financial statements.

        95.     As officers and/or directors of a publicly owned company, Individual Defendants

had a duty to disseminate accurate and truthful information with respect to the Company’s

financial condition and results of operations, and to correct promptly any public statements issued

by the Company which had become materially false or misleading.



                                                  43
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 44 of 45 PAGEID #: 44




        96.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which the Company disseminated in the marketplace during the Class Period

concerning AEP’s results of operations. Throughout the Class Period, the Individual Defendants

exercised their power and authority to cause the Company to engage in the wrongful acts

complained of herein. The Individual Defendants, therefore, were “controlling persons” of the

Company within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of AEP

securities.

        97.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

                                     PRAYER FOR RELIEF

        WHEREFORE, plaintiff, on behalf of himself and the Class, prays for judgment and

relief as follows:

        (a)     declaring this action to be a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal Rules of

Civil Procedure and designating plaintiff’s counsel as Lead Counsel;

        (b)     awarding damages in favor of plaintiff and the other Class members against all

defendants, jointly and severally, together with interest thereon;

        (c)     awarding plaintiff and the Class reasonable costs and expenses incurred in this

action, including counsel fees and expert fees; and

        (d)     awarding plaintiff and other members of the Class such other and further relief as

the Court may deem just and proper.



                                                44
Case: 2:20-cv-04243-SDM-EPD Doc #: 1 Filed: 08/20/20 Page: 45 of 45 PAGEID #: 45




                                JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.


Dated: August 20, 2020                             Respectfully submitted,

                                                   KARON LLC

                                                   /s/ Daniel R. Karon
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